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                    IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF COLUMBIA




JOHNSON & JOHNSON HEALTH CARE
SYSTEMS INC.,

                    Plaintiff,

       v.

ROBERT F. KENNEDY, JR., in his official
capacity, and U.S. DEPARTMENT OF HEALTH
                                                  Civil Action No. 1:24-cv-3188
AND HUMAN SERVICES,

and

THOMAS J. ENGELS, in his official capacity, and
HEALTH RESOURCES AND SERVICES
ADMINISTRATION,

                    Defendants.



                 PLAINTIFF’S OPPOSITION TO DEFENDANTS’
                MOTION TO ENLARGE THE BRIEFING SCHEDULE
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       Plaintiff Johnson & Johnson Health Care Systems Inc. (“J&J”) submits this brief in

opposition to Defendants’ motion to enlarge the briefing schedule. See ECF No. 31. 1

       Time is of the essence in this case, as J&J explained in both its complaint and in its motion

to expedite consideration of the parties’ summary judgment motions. ECF No. 1; ECF No. 19. As

the motion to expedite details, J&J is subject to a September 1, 2025 deadline to submit to the

Centers for Medicare and Medicaid Services a written plan describing J&J’s intended procedures

for meeting its obligations under the Medicare Drug Price Negotiation Program (“Negotiation

Program”), which was established by the Inflation Reduction Act (“IRA”), Pub. L. No. 117-169,

136 Stat. 1818 (2022), and the 340B Drug Pricing Program, 42 U.S.C. § 256b. See ECF No. 19 at

2. The questions presented in this case bear directly on the procedures J&J will include in that

submission.

       Specifically, J&J needs a mechanism to comply with the IRA requirement that drug

manufacturers must prevent duplication between the “maximum fair price” established for

“selected” drugs under the IRA and the ceiling price for 340B eligible sales. See generally ECF

No. 19. Adoption of J&J’s “Rebate Model” for the 340B Program, see generally Compl., ECF

No. 1, would substantially enhance J&J’s ability to perform this de-duplication obligation on a

nationwide scale. However, the IRA will take effect for selected drugs on January 1, 2026

(including for STELARA and XARELTO, the two J&J drugs to which the Rebate Model would

apply), and J&J anticipates that it will require a minimum of six months to complete the planning,

implementation work, and systems testing necessary for the Rebate Model to be operational by the

January 1 date. See ECF No. 19-1 ¶ 25. As a result, J&J’s ability to comply with its obligations

under the IRA could be impaired if uncertainty about the lawfulness of J&J’s Rebate Model


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 Pursuant to Federal Rule of Civil Procedure 25(d), J&J has substituted HHS Secretary Robert F.
Kennedy, Jr. for his predecessor in the case caption.

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remains after July 1, 2025. Accordingly, J&J has respectfully requested that the Court consider

and adjudicate the parties’ summary judgment motions in this case on or before July 1, 2025, or

as soon thereafter as the Court’s schedule will allow. See generally ECF No. 19.

       Consistent with the schedule to which the parties had stipulated on December 27, 2024,

J&J filed its summary judgment motion on February 3, 2025. ECF No. 10; ECF No. 18. Nearly

three weeks later, and just 10 days before Defendants’ deadline to cross-move for summary

judgment, Defendants have moved pursuant to Federal Rule of Civil Procedure 6(b) to extend by

thirty days their deadline to cross-move for summary judgment. Courts should grant motions for

extensions of time only upon a showing of good cause and the “absence of … prejudice to the

adverse party.” 4B Charles Alan Wright et al. Federal Practice & Procedure § 1165 (4th ed.);

see, e.g., Cooper v. DOJ, 169 F. Supp. 3d 20, 46 (D.D.C. 2016) (granting motion to extend deadline

when “no prejudice would result”); Gona v. U.S. Citizenship & Immigr. Servs., No. 1:20-CV-3680,

2021 WL 1226748, at *1 (D.D.C. Apr. 1, 2021) (considering whether a requested extension would

“prejudice [the nonmovant] or hinder the fair administration of justice”).

       J&J is typically willing to grant professional courtesies whenever it can. However, due to

the pressing IRA deadlines that J&J faces, in this instance it cannot do so. Defendants’ belated

request to extend the agreed-upon briefing schedule by thirty days would significantly prejudice

J&J. As described supra and in J&J’s motion to expedite, ECF No. 19, uncertainty about the

lawfulness of J&J’s Rebate Model after July 1, 2025 may hamper J&J’s ability to plan for and

carry out its obligations under the IRA. J&J stipulated with Defendants to an expedited schedule

under which summary judgment briefing would conclude by March 31 with those precise

considerations in mind. See ECF No. 10.




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       Defendants’ motion also would upend the parties’ jointly agreed-upon schedule without

good cause. Defendants principally state that they require additional time to confer with new

agency leadership on the issues in this case and to respond to the various arguments raised across

the multiple pending cases in this district concerning 340B rebate models. But Defendants agreed

to the existing schedule on December 27, 2024, with full knowledge of both the impending change

of administration and the differing features of each of the rebate model complaints. In fact, the

consent motions proposing the stipulated schedule were filed on the same date in several of the

pending rebate model cases, in which Defendants have also now filed parallel motions for 30-day

time extensions. See, e.g., Consent Mot. to Vacate Answer Deadline and Set Summ. J. Briefing

Schedule, Eli Lilly & Co. v. Kennedy, No. 1:24-cv-3220 (D.D.C. Dec. 27, 2024), ECF No. 11; see

also Consent Mot. to Vacate Answer Deadline and Set Summ. J. Briefing Schedule, Novartis

Pharms. Corp. v. Kennedy, No. 1:25-cv-117 (D.D.C. Jan. 27, 2025), ECF No. 8 (consenting to

same schedule one month later). Defendants’ proffered grounds for an extension thus do not

constitute good cause.

       J&J’s opposition is chiefly in the interest of preserving the greatest likelihood that the

parties’ summary judgment motions will be adjudicated within the timeframe proposed in J&J’s

motion to expedite. Indeed, another manufacturer with IRA-selected drugs that filed a rebate

model case in this district two weeks after J&J’s litigation was filed has also sought expedited

consideration of its motion for summary judgment, and is also opposing the government’s

extension motion. Bristol Myers Squibb Co.’s Mot. for Expedited Determination ¶¶ 4, 21, Bristol

Myers Squibb Co. v. Johnson, No. 1:24-cv-3337 (D.D.C. Jan. 14, 2025) (requesting determination

by May 1, 2025), ECF No. 12; Pls.’ Joint Opp’n to Defs.’ Mot. to Enlarge the Briefing Schedule,

Bristol Myers Squibb Co., No. 1:24-cv-3337, ECF No. 31 (D.D.C. Feb. 24, 2025). The other




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manufacturers with rebate model cases, all of which were filed after J&J’s, are also filing briefs in

opposition. E.g., Pls.’ Joint Opp’n to Defs.’ Mot. to Enlarge the Briefing Schedule, Novartis

Pharms. Corp., No. 1:25-cv-117 (D.D.C. Feb. 24, 2025), ECF No. 25. J&J believes that interests

of fairness and efficiency counsel strongly in favor of maintaining a uniform briefing schedule and

resolution timeline across the several rebate model cases, particularly for those parties (like J&J)

that have drugs selected under the IRA as of January 1, 2026.

       With these considerations in mind, J&J respectfully requests that the Court deny

Defendants’ motion to enlarge the briefing schedule because “prejudice would result” for J&J.

Cooper, 169 F. Supp. 3d at 46; see Tindall v. First Solar Inc., 892 F.3d 1043, 1048 (9th Cir. 2018)

(“Rule 6 provides that the court may grant the motion for good cause, not that it must do so.”). To

the extent the Court does elect to grant relief, however, in order to further and maintain “the fair

administration of justice,” Gona, 2021 WL 1226748, at *1, such relief should be consistent with

any relief granted in the parallel rebate model cases and with the timeline proposed in J&J’s motion

to expedite.




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DATED: February 24, 2025


                                   Respectfully submitted,

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                                 CERTIFICATE OF SERVICE

       I certify that on February 24, 2025, I filed the foregoing with the Clerk of the Court

using the ECF System, which will send notification of such filing to the registered participants

identified on the Notice of Electronic Filing.

                                                 /s/ Jeffrey L. Handwerker
                                                 Jeffrey L. Handwerker




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